Case 1:15-cv-01033-SLR-SRF Document 38 Filed 09/06/16 Page 1 of 5 PageID #: 268



                                                                     CHIPMAN BROWN CICERO & COLE, LLP
                                                                                      HERCULES PLAZA
  CHIPMAN BROWN                                                      1313 N. MARKET STREET, SUITE 5400
                                                                         WILMINGTON, DELAWARE 19801
   CICERO & COLE                                                              WWW.CHIPMANBROWN.COM

                                                                                    PAUL D. BROWN
   DELAWARE | NEW YORK                                                               (302) 295-0194
                                                                          BROWN@CHIPMANBROWN.COM


                                              September 6, 2016


 Via Electronic Filing
 The Honorable Sherry R. Fallon
 U.S. District Court for the District of Delaware
 J. Caleb Boggs Federal Building
 844 King Street
 Wilmington, DE 19801

                Re:    Novanta Corporation v. Iradion Laser, Inc.;
                       Case 1:15-cv-01033-SLR-SRF (D. Del.)


 Dear Judge Fallon:

         Pursuant to the Standing Order Regarding Discovery Matters, and in preparation for the
 Telephonic Hearing on Discovery Disputes to be held on September 12, 2016, Novanta
 (formerly “GSI”) submits this letter to request an Order compelling Iradion Laser, Inc.
 (“Iradion”) to (1) produce all core technical documents; (2) produce all documents responsive to
 Novanta’s Document Request (“RFP(s)”) Nos. 16, 23, 27, 31, 34, 40, 46, 59 and 60; and (3)
 substantively respond to Interrogatory Nos. 1, 4, 6, 7, 9, 18-21. Counsel met and conferred on
 these issues on the telephone on July 11, 2016 and August 17, 2016.

        A. Core Technical Document Production

        To date, other than prior art, Iradion has only produced 158 pages. Of these 158 pages,
 only 33 pages could be considered technical documents. The entirety of the core technical
 document production consists of seven (7) documents: one (1) public operation manual, two (2)
 public specification sheets, and four (4) technical drawings where most relevant dimensions are
 not shown. It is difficult to fathom that Iradion has only seven (7) core technical documents
 showing the operation of the Accused Products.

         Novanta suspected that Iradion would resist producing technical documents which is why
 Novanta requested the Scheduling Order specify that Iradion’s initial disclosures should include
 “documents sufficient to show the dimensions and construction of the following components,
 elements, features, and/or characteristics of the accused product(s): resonator cavity; front and
 rear resonator mirrors; and gain medium.” See Scheduling Order at § 1(c)(3).
Case 1:15-cv-01033-SLR-SRF Document 38 Filed 09/06/16 Page 2 of 5 PageID #: 269



 The Honorable Sherry R. Fallon
 September 6, 2016
 Page 2


         Iradion has not produced any (1) requirement and in-house technical specifications, (2)
 design documents, (3) scope of work documents and schedules, (4) vendor specifications, (5)
 complete functional programming guides, (6) testing documents, (7) deployment documents, (8)
 maintenance documents, (9) internal user guides, (10) system integration documents, (11)
 engineer training documents, (12) system architecture documents, or (13) complete architectural
 design documents that would allow one to design and develop these systems. These types of
 documents would be highly relevant to the architecture of the Accused Products and should have
 been produced long ago. Instead, Iradion has delayed in producing these documents but has
 indicated it plans to produce additional technical documents as the case progresses.

        B. Documents Responsive to Iradion’s Document Requests

          Iradion has yet to produce any documents responsive to Iradion’s document requests
 beyond the 158 pages discussed above and its prior art references. Further, Iradion has stated
 that it “will not be producing documents in response to GSI’s Requests For Production Nos. 16,
 23, 27, 31, 34, 39, 40, and 46 based upon its objections.” See Ex. A at 1 [Larsen 6/22/16 Letter].
 These requests seek, for example, document retention policies, electronic document storage
 locations, corporate records, documents furnished to fact witnesses in connection with the
 patents-in-suit, documents identifying those involved with sending a ceramic core to Novanta in
 2012 and other correspondence with Novanta, and right to use opinions. See Ex. B at 19-20, 24-
 25, 31, 33-34, 40, and 42-43 [Iradion’s Responses to GSI’s First Set of RFPs].

         After setting forth boilerplate objections for privilege and discovery beyond Rules 26 and
 34 of the FRCP, each response includes the objection: “Iradion further objects to this Request as
 overly broad, unduly burdensome, not reasonably calculated to lead to the discovery of
 admissible evidence, and seeking discovery of matters that are neither relevant to any party’s
 claim or defense nor proportional to the needs of the case.” Id. These types of conclusory,
 boilerplate objections that fail to explain the precise grounds that make the request objectionable
 are not permitted. See Fed. R. Civ. P. 34(b). Rule 34(b) requires a party objecting to a discovery
 request to include the reasons for the objection. Martin v. Zale Del., Inc., No. 8:08-CV-47-T-
 27EAJ, 2008 U.S. Dist. LEXIS 105215, at *3 (M.D. Fla. Dec. 15, 2008). Objections stating that
 a request is “vague,” “overly broad,” or “unduly burdensome” are meaningless standing alone.
 Id. A party objecting on these grounds must explain its reasoning in a specific and particularized
 way. Id. An objection that a discovery request is irrelevant and not reasonably calculated to lead
 to admissible evidence must include a specific explanation describing why. Id. at *4. Iradion’s
 boilerplate objections and “subject to” statement that it will produce responsive documents
 “preserves nothing and wastes the time and resources of the parties and the court.” Id. These
 types of objections are clearly not permitted and should be withdrawn. Novanta requests an
 order that all documents responsive to RFP Nos. 16, 23, 27, 31, 34, 40, and 46 be produced.

        Additionally, Iradion’s objections to RFPs Nos. 59 and 60, which seek documents for
 additional potentially infringing products, make clear that it will not produce responsive


             CHIPMAN BROWN CICERO & COLE, LLP | THE NEMOURS BUILDING | 1007 N. ORANGE STREET, SUITE 1110
                                 WILMINGTON, DELAWARE 19801 | TEL: (302) 295-0191
Case 1:15-cv-01033-SLR-SRF Document 38 Filed 09/06/16 Page 3 of 5 PageID #: 270



 The Honorable Sherry R. Fallon
 September 6, 2016
 Page 3


 documents based on the objection that the requests are directed to products other than the
 accused Iradion 15XXT Lasers. See Ex. C at 7-8 [Iradion’s Responses to GSI’s Third Set of
 RFPs]. This objection is improper. Novanta’s complaint clearly identifies gas lasers including at
 least the Iradion 1510 gas laser. Under Rule 26(b)(1), “[p]arties may obtain discovery regarding
 any nonprivileged matter that is relevant to any party's claim or defense.” Novanta identified the
 lasers it knows infringe the patents-in-suit. Iradion cannot unilaterally limit discovery to the
 lasers Novanta knows about and identified in its infringement contentions. Ushijima v. Samsung
 Elecs. Co., Case No. 12-cv-318, Dkt. 97, at 2 (W.D. Tex. May 29, 2014) (denying defendant’s
 motion for protective order to restrict discovery to products identified in plaintiff’s complaint or
 preliminary infringement contentions)[see Ex. D]; Honeywell Int’l Inc. v. Acer Am. Corp., 655
 F.Supp.2d 650, 656-57 (E.D. Tex. 2009) (patentee of LCD driver systems granted discovery
 request for over 600 products despite only including three in preliminary infringement
 contentions).

        C. Interrogatory Responses

        Novanta served twenty-one (21) interrogatories on Iradion at the outset of discovery.
 Iradion has not provided substantive responses to Interrogatory Nos. 1, 4, 6, 7, 9, 18-21. See Ex.
 E [Iradion’s Responses to GSI’s First Set of Interrogatories]. These Interrogatories seek basic
 information.

 Response to Interrogatory 1

        Interrogatory 1 requests Iradion’s factual and legal basis for its invalidity allegation.
 While Iradion’s invalidity contentions provide seven (7) claim charts that identify six (6)
 references, they do not address the more than 100 additional disclosed prior art references.
 Iradion has agreed to supplement its response but has yet to provide any supplementation.

 Response to Interrogatory 4

        Interrogatory 4 asks Iradion to describe the research and design, manufacture and
 development, testing, marketing, and sales of the Accused Products.

        Iradion improperly relies on Rule 33(d) and states “GSI may determine further
 information sought by this Interrogatory by examining documents that Iradion will produce in
 response to GSI’s First Set of Requests for Production.” Iradion fails to identify any documents
 by Bates number and does not provide a narrative response with the requested information.
 Iradion’s response is clearly deficient according to the relevant case law.

         A party may rely on Rule 33(d) only if the answer to an interrogatory can be determined
 by examining, compiling, abstracting, auditing, or summarizing a party’s business records or
 electronically-stored information, and the burden to find the answer is substantially the same for
 either party. Frontier Comm. Corp. v. Google Inc., C.A. No. 10-545-GMS, Dkt. 75 at 6 (D. Del.,

             CHIPMAN BROWN CICERO & COLE, LLP | THE NEMOURS BUILDING | 1007 N. ORANGE STREET, SUITE 1110
                                 WILMINGTON, DELAWARE 19801 | TEL: (302) 295-0191
Case 1:15-cv-01033-SLR-SRF Document 38 Filed 09/06/16 Page 4 of 5 PageID #: 271



 The Honorable Sherry R. Fallon
 September 6, 2016
 Page 4


 Feb. 3, 2013) (holding Google must supplement where it did not specify which documents
 possess the responsive information and it was not clear that Google’s burden was substantially
 the same as plaintiff) [see Ex. F]. Where the information sought concerns defendant’s own
 products and business practices, even where plaintiff has the same access to defendant’s
 documents, it is unlikely that the parties are in the same position to obtain the requested
 information. See Bigband Networks, Inc. v. Imagine Commc’n, Inc.¸ C.A. No. 07-351-JJF, 2010
 U.S. Dist. LEXIS 72740, at*8 (D. Del. July 20, 2010); Personal Audio, LLC v. Apple, Inc. et al.,
 No. 9:09-cv-111, Dkt. 139 at 5 (E.D. Tex., June 1, 2010)[see Ex. G]. Novanta is not in a
 position to discover this information through any other reasonable means.

 Response to Interrogatory 6

          Interrogatory 6 asks Iradion for the facts and circumstances related to the date Iradion
 first acquired knowledge or awareness of the patents-in-suit. In response, Iradion merely states
 that it learned of the patents in 2010. Iradion’s terse response does not include any facts or
 circumstances related to how this knowledge came about, what knowledge was gained, what
 investigation took place, or what it did once it learned of the patents-in-suit in 2010. All of this
 information should have been included in Iradion’s answer. Although Iradion agreed during a
 meet and confer held on August 17, 2016 to supplement its answer, it has yet to do so.

 Response to Interrogatory 7

         Interrogatory 7 asks Iradion for the steps Iradion takes to avoid infringing the patent
 rights of others, including steps Iradion took to avoid infringing the patents-in-suit. Iradion’s
 response merely states that the Accused Products do not infringe. Iradion has not provided any
 discussion regarding the steps it takes to avoid infringing patent rights. If Iradion has not taken
 any steps to avoid infringing patent rights, including patent rights of Novanta, then it must state
 so clearly in its response. Otherwise, Iradion must provide the requested information. Because
 Iradion has not clearly stated any meaningful answer in response to this interrogatory, Iradion
 should supplement its responses and provide the requested information.

 Response to Interrogatory 9

        Interrogatory 9 asks for all bases Iradion believes gives it the right or authority to make,
 use, import, offer to sell, and/or sell the Accused Products. For the same reasons Iradion’s
 response to Interrogatory 7 is insufficient, its response here is also insufficient.

 Response to Interrogatory 18

        Interrogatory 18 asks Iradion to identify the relevant Georgia-Pacific factors. Again,
 Iradion objects and merely states that it does not infringe the patents-in-suit, therefore it does not
 need to provide the requested information because Novanta is not entitled to any royalty. It is
 improper for Iradion to artificially set a threshold of a finding of infringement before it must

             CHIPMAN BROWN CICERO & COLE, LLP | THE NEMOURS BUILDING | 1007 N. ORANGE STREET, SUITE 1110
                                 WILMINGTON, DELAWARE 19801 | TEL: (302) 295-0191
Case 1:15-cv-01033-SLR-SRF Document 38 Filed 09/06/16 Page 5 of 5 PageID #: 272



 The Honorable Sherry R. Fallon
 September 6, 2016
 Page 5


 provide information relevant to damages in the current suit. The Georgia-Pacific analysis
 assumes the patent is valid and infringed, and this case has not been bifurcated. Iradion’s answer
 is, therefore, improper. Despite agreeing to supplement its answers, Iradion has yet to do so.

 Response to Interrogatory 19

         Interrogatory 19 asks for the factual support Iradion will rely on for its assertion that
 Novanta is not entitled to lost profits. For the same reasons Iradion’s response to Interrogatory
 18 is insufficient, its response here is also insufficient. Again, despite agreeing to supplement,
 Iradion has yet to provide any supplementation.

 Response to Interrogatory 20

         Interrogatory 20 asks Iradion for all facts that support its contention that it has not
 willfully infringed the patents-in-suit. In response, Iradion raises a host of meritless objections,
 stands on those objections, and does not provide a substantive response. Novanta is entitled to
 the facts Iradion relies on for its contention that it does not willfully infringe the patents-in-suit.

 Response to Interrogatory 21

          Interrogatory 21 asks for Iradion’s factual and legal grounds for its Affirmative Defenses.
 In response, Iradion again relies on a host of meritless objections and provides no substantive
 response. In Iradion’s answer, Iradion alleged defenses of laches, estoppel, and waiver. Novanta
 is entitled to know the factual bases of these defenses. Instead of providing meaningful answers,
 however, Iradion merely objects that this information is premature. This objection is without
 merit and Iradion’s unjustified withholding of this relevant information prejudices Novanta.

                                                  *        *        *
           For the above reasons, Novanta requests the relief outlined in the first paragraph of this
 letter.

                                                       Respectfully,

                                                       /s/ Paul D. Brown

                                                       Paul D. Brown (No. 3903)

 Enclosures
 cc:    Clerk of Court (via hand delivery)
        Counsel of Record (via CM/ECF)




               CHIPMAN BROWN CICERO & COLE, LLP | THE NEMOURS BUILDING | 1007 N. ORANGE STREET, SUITE 1110
                                   WILMINGTON, DELAWARE 19801 | TEL: (302) 295-0191
